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 7
 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                         RIVERSIDE DIVISION
11
12    In re                                             Case No.: 6:18-bk-10412-WJ
13    LORENA LILIANA MOLINA-LOPEZ,                      Chapter 7

14                          Debtor.                     Adv. No.: 6:20-AP-01003-WJ
15
      A. CISNEROS, Chapter 7 Trustee of the             PROOF OF SERVICE
16    Estate of Lorena Liliana Molina-Lopez,
                                                        Status Conference:
17                          Plaintiff,                  Date:     April 9, 2020
      vs.                                               Time:     10:30 AM
18                                                      Location: 3420 Twelfth Street
      LORENA LILIANA MOLINA-LOPEZ, an                             Riverside CA 92501
19    individual, HUGO MOLINA, an individual,,
20                          Defendant.
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22   ///
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            Case 6:20-ap-01003-WJ                   Doc 5 Filed 01/17/20 Entered 01/17/20 09:52:10                                     Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                         2112 Business Center Drive, 2nd Floor, Irvine, CA 92612

A true and correct copy of the foregoing document entitled (specify): ADVERSARY COMPLAINT: (1) FOR
TURNOVER OF PROPERTY OF THE ESTATE (11 U.S.C. §§ 542(a), 542(e)); (2) TO AVOID
PREFERENTIAL TRANSFERS (11 U.S.C. §§ 547(b), 550(a), 551); (3) TO AVOID FRAUDULENT
TRANSFERS (11 U.S.C. §§ 548(b), 550(a), 551); (4) TO AVOID POST-PETITION
TRANSFERS (11 U.S.C. §§ 549(a), 550(a), 551)will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 17, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

UNITED STATES TRUSTEE (SA): United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
NOTICE: Christina J Khil christinao@mclaw.org, CACD_ECF@mclaw.org;mcecfnotices@ecf.courtdrive.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 17, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Honorable Bankruptcy Judge: Wayne E. Johnson, 3420 Twelfth Street, Riverside CA 92501
Defendant: Lorena Molina-Lopez, 11762 De Palma Rd, 1-C300, Corona, CA 92883
Defendant: Hugo Molina, 1421 Carmelita Ave., Apt 5, Burlingame, CA 94010
Attorney for Lorena-Molina-Lopez: Baruch C Cohen , 4929 Wilshire Blvd Ste 940, Los Angeles, CA 90010
Courtesy Copy Notice: Gary S Saunders, Saunders Law Group, 1891 California Ave Ste 102, Corona, CA 92881

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 January 17, 2020                 Erica F. Pedraza                                              /s/ Erica F. Pedraza
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
